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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ATLANTIC CASUALTY INSURANCE                      §
COMPANY,                                         §
    Plaintiff,                                   §
                                                 §
v.                                               §                    Cause No. 3:07-CV-1297-K
                                                 §
ROBERT RAMIREZ, individually and                 §
d/b/a LBJ TRUCKING CO., INC.,                    §
LBJ TRUCKING CO., INC., CLEM’S                   §
YE OLDE HOMESTEAD FARMS, LTD.,                   §
BETTYE CRIDER CLEM, CLARENCE                     §
TRUMAN CLEM, KELLY CLEM, and                     §
CLARENCE T. “CASEY” CLEM, JR.,                   §
       Defendants.                               §


     APPENDIX TO DEFENDANTS ROBERT RAMIREZ AND LBJ TRUCKING CO.,
      INC.’S RESPONSE TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


D.APP 1              Environmental Laboratories Report (June 26, 2001)

D.APP 2 – 3          Articles of Incorporate for LBJ Trucking Co., Inc., in the State of Texas
                     (October 17, 2002)

D.APP 4 – 5          Invoices 14572 and 14622(April 25 and 26, 2006)

D.APP 6 – 11         Defendant LBJ Trucking Co., Inc.’s Objections and Answers to Plaintiff
                     Clarence T. “Casey” Clem, Jr.’s First Set of Interrogatories from Clem’s Ye
                     Olde Homestead Farms, Ltd., et al., v. Bill Briscoe, et al., Case No.
                     4:07cv285, in the United States District Court for the Eastern District of
                     Texas, Sherman Division (October 4, 2007)

D.APP 12 – 16        Demand letter from Frederick W. Addison, III, on behalf of Lori and Casey
                     Clem, Re: Resource Conservation Recovery Act (“RCRA”) – Pre-Suit
                     Notice Pursuant to 42 U.S.C. § 6972(b)(1)(2) (November 20, 2006)

D.APP 17 – 18        Environmental Laboratories Report of Sample Analysis (January 21, 2002)

D.APP 19 - 33        Excerpts from the Deposition of Carolyn Benavides from Clem’s Ye Olde
                     Homestead Farms, Ltd., et al., v. Bill Briscoe, et al., Case No. 4:07cv285, in


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                     the United States District Court for the Eastern District of Texas, Sherman
                     Division (October 11, 2007)



Dated: November 27, 2007                      Respectfully submitted,

                                              /S/ Cody L. Towns__________________________
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                                 CERTIFICATE OF SERVICE

        I certify that on November 27, 2007, I electronically filed the foregoing document with
the clerk of court for the U.S. District Court, Northern District of Texas. The electronic case
filing system sent a “Notice of Electronic Filing” to the following attorneys of record, who have
consented in writing to accept this Notice as service of this document by electronic means.


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